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                   EXHIBIT C
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                                                                                                     US007835430B2


   (12)   United States Patent                                                     (10)   Patent No.:     US 7,835,430 B2
          Krinsky et al.                                                           (45)   Date of Patent:    *Nov. 16,2010

   (54)    MULTICARRIER MODULATION                                            (58)    Field of Classification Search ....................... None
           MESSAGING FOR FREQUENCY DOMAIN                                             See application file for complete search history.
           RECEIVED IDLE CHANNEL NOISE
                                                                              (56)                     References Cited
           INFORMATION
                                                                                              U.S. PATENT DOCUMENTS
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                                                                                     4,385,384 A        5/1983 Rosbury et al.
                      Robert Edmund Pizzano, Jr.,
                      Stoneham, MA (US)                                                                      (Continued)

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   ( *)   Notice:       Subject to any disclaimer, the term of this
                        patent is extended or adjusted under 35                                              (Continued)
                        U.S.c. 154(b) by 0 days.                                                   OTHER PUBLICATIONS
                        This patent is subject to a tenninal dis-             Official Action for European Patent Application No. EP 06022008,
                        claimer.                                              mailed Apr. 23, 2010.

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   (21)   Appl. No.: 12/477,742                                               Primary Examiner-Khanh C Tran
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                                                                              P.c.
   (22)    Filed:       Jun. 3,2009
                                                                              (57)                       ABSTRACT

   (65)                    Prior Publication Data                             Upon detection of a trigger, such as the exceeding of an error
                                                                              threshold or the direction of a user, a diagnostic link system
          US 200910238254 Al              Sep.24,2009                         enters a diagnostic information transmission mode. This
                                                                              diagnostic infonnation transmission mode allows for two
                                                                              modems to exchange diagnostic and/or test infonnation that
                    Related U.S. Application Data                             may not otherwise be exchangeable during normal commu-
                                                                              nication. The diagnostic infonnation transmission mode is
   (60)    Continuation of application No. 10/619,691, filed on
                                                                              initiated by transmitting an initiate diagnostic link mode mes-
           Jul. 16, 2003, now Pat. No. 7,570,686, which is a
                                                                              sage to a receiving modem accompanied by a cyclic redun-
           division of application No. 091755,173, filed on Jan. 8,
                                                                              dancy check (CRC). The receiving modem determines, based
           2001, now Pat. No. 6,658,052.                                      on the CRC, if a robust communications channel is present. If
   (60)    Provisional application No. 60/224,308, filed on Aug.              a robust communications channel is present, the two modems
           10, 2000, provisional application No. 601174,865,                  can initiate exchange of the diagnostic and/or test infonna-
           filed on Jan. 7, 2000.                                             tion. Otherwise, the transmission power of the transmitting
                                                                              modem is increased and the initiate diagnostic link mode
   (51)   Int. Cl.                                                            message re-transmitted to the receiving modem until the CRC
          H04B 1/38                   (2006.01)                               is detennined to be correct.
          H04L 12/26                  (2006.01)
   (52)   U.S. Cl. ....................................... 3751222; 370/252                    6 Claims, 2 Drawing Sheets


                                                          200                                                 300




                                                                                          POTS·R         ,---_ _---,40
                                                                                                              Phone
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                                                                                                                                                    ~


                                               230                                            310
         210          (ATU-C)                                                                            (ATU-R)         330
                                             ;II                                              iii
         ;II                      Diagnostic                                            Message
                                                                                                                      ;II                           zo
           CRC                   Information                                                                     Diagnostic                          ~
;0
          Checker                 Monitoring
                                                                                      Determination
                                                                                                                  Device                     60      ....
I                                                            10             30           Device                                                   ~Cl\
                           5       Device                  ;II     5      ;11                                                              /l/      N
                                                                                                                                                    o
                      !II                                                                                                                           ....
\
)
                                         I
                                                     :: Splitter       Splitter   i                                         340
                                                                                                                                         User
                                                                                                                                       Terminal
                                                                                                                                                    o
                      220                                                                          320
                    ;II                                                                         !II                       !II
                                                                                                                                                    rFJ
                                                                                                                  Diagnostic
         Diagnostic                                                                      Power
                                                                                                                 Information
                                                                                                                                                    =-
                                                                                                                                                   ('D

          Device                                                                         Control                                                    .....
                                                                                                                                                   ('D



                                                                                         Device
                                                                                                                   Storage                          ....
                                                                                                                   Deivce                          o....
                                                                                                                                                    N

                            20          POTS-C                                         POTS-R                                     40
           Phone      I                  ;II                                            ;II                        Phone
     I     Switch      I                                                                                     l
                                                                                                                                                   d
                                                                                                                                                   rJl
                                                              Fig. 1                                                                              ",-.....1
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                                                                                                                                                   W
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                         )---------Yes
              ?

                        S130
            Select
                        ;71                                                    Fig. 2
          Diagnostic          )-----Yes-----.!
            Mode                                                 S170
              ?
                                             Transmit Initiate Diagnostic
                                ,----~                                       ~------.
                                                  Mode Message                                 Yes

                                                                 S180
                                                                 ;71
                                                                 >----No                S190
                                                          ?        S200

                                                Determine Diagnostic           Re-transmit
                                                   Link Message                     ?
                   S140
                                         For Predetermined Number Of
                               Yes
         Enter Normal                              Iterations S220
         Steady State
             Data
                                              Transmit Diagnostic Link
         Transmission
                                                Message With CRC               S210
                                                                                   No



                        S150
             Error                                                 S240
           Threshold
                                                        CRC
           Exceeded
                                                       Correct
               ?                                          ?


                                                                        S250
                                                      Increase
                                                    Transmission
                                                       Power
                        S160
                                                                       Yes
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                                                         US 7,835,430 B2
                                  1                                                                        2
           MULTICARRIER MODULATION                                          quency subchannels. By establishing a diagnostic link mode
        MESSAGING FOR FREQUENCY DOMAIN                                      between the two modems, the systems and methods of this
          RECEIVED IDLE CHANNEL NOISE                                       invention are able to exchange diagnostic and test informa-
                 INFORMATION                                                tion in a simple and robust manner.
                                                                                In the diagnostic link mode, the diagnostic and test infor-
                  FIELD OF THE INVENTION                                    mation is communicated using a signaling mechanism that
                                                                            has a very high immunity to noise and/or other disturbances
    This invention relates to test and diagnostic information. In           and can therefore operate effectively even in the case where
  particular, this invention relates to a robust system and                 the modems could not actually establish an acceptable con-
  method for communicating diagnostic information.                     10   nection in their normal operational mode.
                                                                                For example, if the ATU-C and/or ATU-R modem fail to
            BACKGROUND OF THE INVENTION                                     complete an initialization sequence, and are thus unable to
                                                                            enter a normal steady state communications mode, where the
     The exchange of diagnostic and test information between                diagnostic and test information would normally be
  transceivers in a telecommunications environment is an               15   exchanged, the modems according to the systems and meth-
  important part of a telecommunications, such as an ADSL,                  ods of this invention enter a robust diagnostic link mode.
  deployment. In cases where the transceiver connection is not              Alternatively, the diagnostic link mode can be entered auto-
  performing as expected, for example, where the data rate is               matically or manually, for example, at the direction of a user.
  low, where there are many bit errors, or the like, it is necessary        In the robust diagnostic link mode, the modems exchange the
  to collect diagnostic and test information from the remote           20   diagnostic and test information that is, for example, used by a
  transceiver. This is performed by dispatching a technician to             technician to determine the cause of a failure without the
  the remote site, e.g., a truck roll, which is time consuming and          technician having to physically visit, i.e., a truckroll to, the
  expensive.                                                                remote site to collect data.
     In DSL technology, communications over a local sub-                        The diagnostic and test information can include, for
  scriber loop between a central office and a subscriber pre-          25   example, but is not limited to, signal to noise ratio informa-
  mises is accomplished by modulating the data to be transmit-              tion, equalizer information, programmable gain setting infor-
  ted onto a multiplicity of discrete frequency carriers which              mation, bit allocation information, transmitted and received
  are snmmed together and then transmitted over the subscriber              power information, margin information, status and rate infor-
  loop. Individually, the carriers form discrete, non-overlap-              mation, telephone line condition information, such as the
  ping communication subchannels oflimited bandwidth. Col-             30   length of the line, the number and location of bridged taps, a
  lectively, the carriers form what is effectively a broadband              wire gauge, or the like, or any other known or later developed
  communications channel. At the receiver end, the carriers are             diagnostic or test information that may be appropriate for the
  demodulated and the data recovered.                                       particular communications environment. For example, the
     DSL systems experience disturbances from other data ser-               exchanged diagnostic and test information can be directed
  vices on adjacent phone lines, such as, for example, ADSL,           35   toward specific limitations of the modems, to information
  HDSL, ISDN, T1, or the like. These disturbances may com-                  relating to the modem installation and deployment environ-
  mence after the subj ect ADSL service is already initiated and,           ment, or to other diagnostic and test information that can, for
  since DSL for internet access is envisioned as an always-on               example, be determined as needed which may aid in evaluat-
  service, the effect of these disturbances must be ameliorated             ing the cause of a specific failure or problem. Alternatively,
  by the subject ADSL transceiver.                                     40   the diagnostic and test information can include the loop
                                                                            length and bridged tap length estimations as discussed in
               SUMMARY OF THE INVENTION                                     copending, filed herewith and incorporated herein by refer-
                                                                            ence in its entirety.
     The systems and methods of this invention are directed
                                                                                For example, an exemplary embodiment of the invention
  toward reliably exchanging diagnostic and test information
                                                                       45   illustrates the use of the diagnostic link mode in the commu-
  between transceivers over a digital subscriber line in the
                                                                            nication of diagnostic information from the remote terminal
  presence of voice communications and/or other disturbances.
                                                                            (RT) transceiver, e.g.,ATU-R, to the central office (CO) trans-
  For simplicity of reference, the systems and methods of the
                                                                            ceiver, e.g., ATU-C. Transmission of information from the
  invention will hereafter refer to the transceivers generically as
                                                                            remote terminal to the central office is important since a
  modems. One such modem is typically located at a customer
                                                                       50   typical ADSL service provider is located in the central office
  premises such as a home or business and is "downstream"
                                                                            and would therefore benefit from the ability to determine
  from a central office with which it communicates. The other
                                                                            problems at the remote terminal without a truckroll. However,
  modem is typically located at the central office and is
                                                                            it is to be appreciated, that the systems and the methods of this
  "upstream" from the customer premises. Consistent with
                                                                            invention will work equally well in communications from the
  industry practice, the modems are often referred to as "ATU-
                                                                       55   central office to the remote terminal.
  R" ("ADSL transceiver unit, remote," i.e., located at the cus-
  tomerpremises) and "ATU-C" ("ADSL transceiver unit, cen-                      These and other features and advantages of this invention
  tral office" i.e., located at the central office). Each modem             are described in or are apparent from the following detailed
  includes a transmitter section for transmitting data and a                description of the embodiments.
  receiver section for receiving data, and is of the discrete          60
  multitone type, i.e., the modem transmits data over a multi-                     BRIEF DESCRIPTION OF THE DRAWINGS
  plicity of subchannels of limited bandwidth. Typically, the
  upstream or ATU -C modem transmits data to the downstream                   The embodiments of the invention will be described in
  or ATU-R modem over a first set of subchannels, which are                 detail, with reference to the following figures wherein:
  usually the higher-frequency subchannels, and receives data          65      FIG. 1 is a functional block diagram illustrating an exem-
  from the downstream or ATU-R modem over a second, usu-                    plary communications system according to this invention;
  ally smaller, set of subchannels, commonly the lower-fre-                 and
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                                   3                                                                      4
     FIG. 2 is a flowchart outlining an exemplary method for
  communicating diagnostic and test infonnation according to                                    TABLE I-continued
  this invention.
                                                                                              Exemplary Message Variables
     DETAILED DESCRIPTION OF THE INVENTION                                        Programmable gain amplifier PGA Gain - Showtime
                                                                                  Filter Present during Idle Channel Calculation
     For ease of illustration the following description will be                   Average Idle Channel Noise
                                                                                  Signal to Noise during Training
  described in relation to the CO receiving diagnostic and test                   Signal to Noise during Showtime
  information from the RT. In the exemplary embodiment, the                       Bits and Gains
  systems and methods of this invention complete a portion of        10           Data Rate
  the nonnal modem initialization before entering into the diag-                  Framing Mode
                                                                                  Margin
  nostic link mode. The systems and methods of this invention                     Reed-Solomon Coding Gain
  can enter the diagnostic link mode manually, for example, at                    QAMUsage
  the direction of a technician or a user after completing a                      Frequency Domain Equalizer (FDQ) Coefficients
  portion of initialization. Alternatively, the systems and meth-    15           Gain Scale
                                                                                  Time domain equalizer (TDQ) Coefficients
  ods of this invention can enter the diagnostic link mode auto-                  Digital Echo Canceller (DEC) Coefficients
  matically based on, for example, a bit rate failure, a forward
  error correction or a CRC error during showtime, e.g., the
  nonnal steady state transmission mode, or the like. The tran-              Table I shows an example of a data message that can be
  sition into the diagnostic link mode is accomplished by trans-     20   sent by the RT to the CO during the diagnostic link mode. In
  mitting a message from the CO modem to the RT modem                     this example, the RT modem sends 23 different data variables
  indicating that the modems are to enter into the diagnostic             to the CO. Each data variable contains different items of
  link mode, as opposed to transitioning into the nonnal steady           diagnostic and test information that are used to analyze the
  state data transmission mode. Alternatively, the transition into        condition of the link. The variables may contain more than
  the diagnostic link mode is accomplished by transmitting a         25   one item of data. For example, the Average Reverb Signal
  message from the RT modem to the CO modem indicating                    contains the power levels per tone, up to, for example, 256
  that the modems are to enter into the diagnostic link mode as           entries, detected during theADSL Reverb signal. Conversely,
  opposed to transitioning into the nonnal steady state data              the PGA Gain-Training is a single entry, denoting the gain in
  transmission mode. For example, the transition signal uses an           dB at the receiver during the ADSL training.
  ADSL state transition to transition from a standard ADSL           30      Many variables that represent the type of diagnostic and
  state to a diagnostic link mode state.                                  test information that are used to analyze the condition of the
     In the diagnostic link mode, the RT modem sends diagnos-             link are sent from the RT modem to the CO modem. These
  tic and test information in the form of a collection of infor-          variables can be, for example, arrays with different lengths
  mation bits to the CO modem that are, for example, modu-                depending on, for example, information in the initiate diag-
  lated by using one bit per DTM symbol modulation, as is used       35   nostic mode message. The systems and methods of this inven-
  in the C-Ratesl message in the ITU and ANSI ADSL stan-                  tion can be tailored to contain many different diagnostic and
  dards, where the symbol may or may not include a cyclic                 test infonnation variables. Thus, the system is fully config-
  prefix. Other exemplary modulation techniques include Dif-              urable, allowing subsets of data to be sent and additional data
  ferential Phase Shift Keying (DPSK) on a subset or all the              variables to be added in the future. Therefore, the message
  carriers, as specified in, for example, ITU standard G.994.1,      40   length can be increased or decreased, and diagnostic and test
  higher order QAM modulation (> I bit per carrier), or the like.         information customized, to support more or less variables as,
     In the one bit per DMT symbol modulation message                     for example, hardware, the environment and/or the telecom-
  encoding scheme, a bit with value 0 is mapped to the                    munications equipment dictates.
  REVERB I signal and a bit with a value of I mapped to a                    Therefore, it is to be appreciated, that in general the vari-
  SEGUEI signal. The REVERBI and SEGUEI signals are                  45   ables transmitted from the modem being tested to the receiv-
  defined in the ITU and ANSI ADSL standards. The                         ing modem can be any combination of variables which allow
  REVERB I signal is generated by modulating all of the car-              for transmission of test and/or diagnostic infonnation.
  riers in the multi carrier system with a known pseudo-random               FIG. 1 illustrates an exemplary embodiment of the addi-
  sequence thus generating a wideband modulated signal. The               tional modem components associated with the diagnostic link
  SEGUEI signal is generated from a carrier by 180 degree            50   mode. In particular, the diagnostic link system 100 comprises
  phase reversal of the REVERB I signal. Since both signals are           a central office modem 200 and a remote terminal modem
  wideband and known in advance, the receiver can easily                  300. The central office modem 200 comprises, in addition to
  detect the REVERB I and SEGUEI signal using a simple                    the standardATU-C components, a CRC checker 210, a diag-
  matched filter in the presence of large amounts of noise and            nostic device 220, and a diagnostic information monitoring
  other disturbances.                                                55   device 230. The remote terminal modem 300 comprises, in
                                                                          addition to the standard components associated with anATU-
                              TABLE I                                     R, a message detennination device 310, a power control
                                                                          device 320, a diagnostic device 330 and a diagnostic infor-
                      Exemplary Message Variables                         mation storage device 340. The central office modem 200 and
          Data Sent in !be Diag Link
                                                                     60   the remote tenninal model 300 are also connected, via link 5,
          Train Type                                                      to a splitter 10 for a phone switch 20, and a splitter 30 for a
          ADSL Standard                                                   phone 40. Alternatively, the ATU-R can operate without a
          Chip Type                                                       splitter, e.g., splitterless, as specified in ITU standard G.992.2
          VendorID
          Code Version
                                                                          (G.lite) or with an in-line filter in series with the phone 40. In
          Average Reverb Received Signal                             65   addition, the remote tenninal modem 300, can also be con-
          Programmable gain amplifier (PGA) Gain - Training               nected to, for example, one or more user terminals 60. Addi-
                                                                          tionally, the central office modem 200 can be connected to
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                                 5                                                                    6
  one or more distributed networks 50, via link 5, which mayor         the signal to noise ratio, the bits and gains and the upstream
  may not also be connected to one or more other distributed           and downstream transmission rates, or the like.
  networks.                                                               If the initiate diagnostic link mode message is not received
     While the exemplary embodiment illustrated in FIG. 1              by the central office 200, the initiate diagnostic link mode
  shows the diagnostic link system 100 for an embodiment in            message can, for example, be re-transmitted a predetermined
  which the remote tenninal modem 300 is communicating test            number of iterations until a detennination is made that it is not
  and diagnostic information to the central office 200, it is to be    possible to establish a connection.
  appreciated that the various components of the diagnostic link          Assuming the initiate diagnostic link mode message is
  system can be rearranged such that the diagnostic and test           received, then, for a predetennined number of iterations, the
  information can be forwarded from the central office 200 to 10 diagnostic device 330, in cooperation with the remote tenni-
  the remote terminal modem 300, or, alternatively, such that          nal modem 300 and the diagnostic infonnation storage device
  both modems can send and receive diagnostic and/or test              340, transmits the diagnostic link message with a cyclic
  information. Furthermore, it is to be appreciated, that the          rednndancy check (eRC) to the central office modem 200.
  components of the diagnostic link system 100 can be located          However, it is to be appreciated that in general, any error
  at various locations within a distributed network, such as 15 detection scheme, such as bit error detection, can be used
  the -POTS network, or other comparable telecommnnications            without affecting the operation of the system. The central
  network. Thus, it should be appreciated that the components          office 200, in cooperation with the eRe checker 210, deter-
  of the diagnostic link system 100 can be combined into one           mines if the eRe is correct. If the eRe is correct, the diag-
  device for respectively transmitting, receiving, or transmit-        nostic information stored in the diagnostic information stor-
  ting and receiving diagnostic and/or test information. As will 20 age device 340 has been, with the cooperation of the
  be appreciated from the following description, and for rea-          diagnostic device 330, and the remote tenninal modem 300,
  sons of computational efficiency, the components of the diag-        forwarded to the central office 200 successfully.
  nostic link system 100 can be arranged at any location within           If, for example, the eRe checker 210 is unable to deter-
  a telecommnnications network and/or modem without affect-
                                                                       mine the correct eRe, the diagnostic device 330, in coopera-
  ing the operation of the system.                                  25 tion with power control device 320, increases the transmis-
     The links 5 can be a wired or wireless link or any other          sion power of the remote terminal 300 and repeats the
  known or later developed element(s) that is capable of sup-          transmission of the diagnostic link message from the remote
  plying and communicating electronic data to and from the             tenninal300 to the central office 200. This process continues
  connected elements. Additionally, the user terminal 60 can           until the correct eRe is determined by the eRe checker 210.
  be, for example, a personal computer or other device allowing 30
                                                                          The maximum power level used for transmission of the
  a user to interface with and communicate over a modem, such
                                                                       diagnostic link message can be specified by, for example, the
  as a DSL modem. Furthermore, the systems and method of
                                                                       user or the ADSL service operator. If the eRe checker 210
  this invention will work equally well with splitterless and
                                                                       does not determine a correct eRe at the maximum power
  low-pass multi carrier modem technologies.
                                                                    35 level and the diagnostic link mode can not be initiated then
     In operation, the remote tenninal 300, commences its nor-
                                                                       other methods for detennining diagnostic information are
  mal initialization sequence. The diagnostic device 330 moni-
                                                                       utilized, such as dispatching a technician to the remote site, or
  tors the initialization sequence for a failure. If there is a
                                                                       the like.
  failure, the diagnostic device 330 initiates the diagnostic link
  mode. Alternatively, a user or, for example, a technician at the        Alternatively, the remote terminal 300, with or without an
  eo, can specifY that the remote terminal 300 enter into the 40 increase in the power level, can transmit the diagnostic link
  diagnostic link mode after completing a portion of an initial-       message several times, for example, 4 times. By transmitting
  ization. Alternatively still, the diagnostic device 330 can          the diagnostic link message several times, the eo modem 200
  monitor the nonnal steady state data transmission of the             can use, for example, a diversity combining scheme to
  remote tenninal, and upon, for example, an error threshold           improve the probability of obtaining a correct eRe from the
  being exceeded, the diagnostic device 330 will initiate the 45 received diagnostic link message(s).
  diagnostic link mode.                                                   Alternatively, as previously discussed, the central office
     Upon initialization of the diagnostic link mode, the diag-        200 comprises a diagnostic infonnation monitoring device
  nostic device 330, in cooperation with the remote tenninal           230. The remote terminal 300 can also include a diagnostic
  300 will transmit an initiate diagnostic link mode message           information monitoring device. One or more of these diag-
  from the remote tenninal to the central office 200 (RT to eO). 50 nostic infonnation monitoring devices can monitor the nor-
  Alternatively, the central office modem 200 can transmit an          mal steady state data transmission between the remote tenni-
  initiate diagnostic link mode message to the remote tenninal         nal 300 and the central office 200. Upon, for example, the
  modem 300. If the initiate diagnostic link mode message is           normal steady state data transmission exceeded a predeter-
  received by the central office 200, the diagnostic device 330,       mined error threshold, the diagnostic infonnation monitoring
  in cooperation with the message detennination device 310, 55 device can initiate the diagnostic link mode with the coopera-
  determines a diagnostic link message to be forwarded to the          tion of the diagnostic device 300 and/or the diagnostic device
  central office 200. For example, the diagnostic link message         220.
  can include test infonnation that has been assembled during,            FIG. 2 illustrates an exemplary method for entering a diag-
  for example, the nonnal ADSL initialization procedure. The           nostic link mode in accordance with this invention. In par-
  diagnostic and/or test information can include, but is not 60 ticular, control begins in step S100 and continues to step
  limited to, the version number of the diagnostic link mode, the      Sll O. In step Sll 0, the initialization sequence is commenced.
  length of the diagnostic and/or test infonnation, the commu-         Next, in step S120, if an initialization failure is detected,
  nications standard, such as the ADSL standard, the chipset           control continues to step S170. Otherwise, control jumps to
  type, the vendor identifications, the ATU version number, the        step S130. In step S130, a determination is made whether the
  time domain received reverb signal, the frequency domain 65 diagnostic link mode has been selected. If the diagnostic link
  reverb signal, the amplifier settings, the eo transmitter power      mode has been selected, control continues to step S170, oth-
  spectral density, the frequency domain received idle channel,        erwise, control jumps to step S140.
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     In step S170, the initiate diagnostic link mode message is          terns or microprocessor or microcomputer systems being uti-
  transmitted from, for example, the remote terminal to the              1ized. The diagnostic link system and methods illustrated
  central office. Next, in step S180, a determination is made            herein however, can be readily implemented in hardware
  whether the initiate diagnostic mode message has been                  and/or software using any known or later developed systems
  received by the CO. If the initiate diagnostic mode message            or structures, devices and/or software by those of ordinary
  has been received by the CO, control jumps to step S200.               skill in the applicable art from the functional description
  Otherwise, control continues to step S190. In step S190, a             provided herein and with a general basic knowledge of the
  determination is made whether to re-transmit the initiate              computer and telecommunications arts.
  diagnostic mode message, for example, based on whether a                  Moreover, the disclosed methods can be readily imp le-
  predetermined number of iterations have already been com-         10   mented as software executed on a programmed general pur-
  pleted. If the initiate diagnostic mode message is to be re-           pose computer, a special purpose computer, a microproces-
  transmitted, control continues back to step S170. Otherwise,           sor, or the like. In these instances, the methods and systems of
  control jumps to step S160.                                            this invention can be implemented as a program embedded on
     In step S200, the diagnostic link message is determined, for        a modem, such a DSL modem, as a resource residing on a
  example, by assembling test and diagnostic information            15   personal computer, as a routine embedded in a dedicated
  about one or more of the local loop, the modem itself, the             diagnostic link system, a central office, or the like. The diag-
  telephone network at the remote terminal, or the like. Next, in        nostic link system can also be implemented by physically
  step S210, for a predetermined number of iterations, steps             incorporating the system and method into a software and/or
  S220-S240 are completed. In particular, in step S220 a diag-           hardware system, such as a hardware and software systems of
  nostic link message comprising a CRC is transmitted to, for       20   a modem, a general purpose computer, anADSL line testing
  example, the CO. Next, in step S230, the CRC is determined.            device, or the like.
  Then, in step S240, a determination is made whether the CRC               It is, therefore, apparent that there is provided in accor-
  is correct. If the CRC is correct, the test and/or diagnostic          dance with the present invention, systems and methods for
  information has been successfully communicated and control             transmitting a diagnostic link message. While this invention
  continues to step S160.                                           25   has been described in conjunction with a number of embodi-
     Otherwise, if step S210 has completed the predetermined             ments' it is evident that many alternatives, modifications and
  number of iterations, control continues to step S250. In step          variations would be or are apparent to those of ordinary skill
  S250, the transmission power is increased and control con-             in the applicable arts. Accordingly, applicants intend to
  tinues back to step S210. Alternatively, as previously dis-            embrace all such alternatives, modifications, equivalents and
  cussed, the diagnostic link message may be transmitted a          30   variations that are within the spirit and the scope of this
  predetermined number of times, with our without a change in            invention.
  the transmission power.                                                   What is claimed is:
     In step S140, the normal steady state data transmission is             1. A transceiver capable of transmitting test information
  entered into between two modems, such as the remote termi-             over a communication channel using multi carrier modulation
  na and the central office modems. Next, in step S150, a          35   comprising:
  determination is made whether an error threshold during the               a transmitter portion capable of transmitting a message,
  normal steady state data transmission has been exceeded. If                  wherein the message comprises one or more data vari-
  the error threshold has been exceeded, control continues to                  ables that represent the test information, wherein bits in
  step S170. Otherwise, control jumps to step S160. In step                    the message are modulated onto DMT symbols using
  S160, the control sequence ends.                                  40         Quadrature Amplitude Modulation (QAM) with more
     As shown in FIG. 1, the diagnostic link mode system can be                than 1 bit per subchannel and wherein at least one data
  implemented either on a single program general purpose                       variable of the one or more data variables comprises an
  computer, a modem, such as a DSL modem, or a separate                        array representing frequency domain received idle chan-
  program general purpose computer having a communications                     ne noise information.
  device. However, the diagnostic link system can also be           45      2. A transceiver capable of receiving test information over
  implemented on a special purpose computer, a programmed                a communication channel using multicarrier modulation
  microprocessor or micro controller and peripheral integrated           comprising:
  circuit element, an ASIC or other integrated circuit, a digital           a receiver portion capable of receiving a message, wherein
  signal processor, a hardwired electronic or logic circuit such               the message comprises one or more data variables that
  as a discrete element circuit, a programmed logic device such     50         represent the test information, wherein bits in the mes-
  as a PLD, PLA, FPGA, PAL, or the like, and associated                        sage were modulated onto DMT symbols using Quadra-
  communications equipment. In general, any device capable                     ture Amplitude Modulation (QAM) with more than 1 bit
  of implementing a finite state machine that is capable of                    per subchannel and wherein at least one data variable of
  implementing the flowchart illustrated in FIG. 2 can be used                 the one or more data variables comprises an array rep-
  to implement a diagnostic link system according to this inven-    55         resenting frequency domain received idle channel noise
  tion.                                                                        information.
     Furthermore, the disclosed method may be readily imple-                3. In a transceiver capable of transmitting test information
  mented in software using object or object-oriented software            over a communication channel using multi carrier modula-
  development environments that provide portable source code             tion, a method comprising:
  that can be used on a variety of computer, workstation, or        60      transmitting a message, wherein the message comprises
  modem hardware platforms. Alternatively, the disclosed                       one or more data variables that represent the test infor-
  diagnostic link system may be implemented partially or fully                 mation, wherein bits in the message are modulated onto
  in hardware using standard logic circuits or a VLSI design.                  DMT symbols using Quadrature Amplitude Modulation
  Other software or hardware can be used to implement the                      (QAM) with more than 1 bit per sub channel and wherein
  systems in accordance with this invention depending on the        65         at least one data variable of the one or more data vari-
  speed and/or efficiency requirements of the systems, the par-                ables comprises an array representing frequency domain
  ticular function, and a particular software or hardware sys-                 received idle channel noise information.
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     4. In a transceiver capable of receiving test infonnation                DMT symbols using Quadrature Amplitude Modulation
   over a connnunication channel using multi carrier modulation               (QAM) with more than 1 bit per sub channel and wherein
   comprising, a method comprising:                                           at least one data variable of the one or more data vari-
     receiving a message, wherein the message comprises one                   ables comprises an array representing frequency domain
        or more data variables that represent the test infonna-               received idle channel noise information.
        tion, wherein bits in the message were modulated onto              6. Anon-transitory computer-readable information storage
        DMT symbols using Quadrature Amplitude Modulation                media having stored thereon instructions that if executed
        (QAM) with more than 1 bit per subchannel and wherein            cause a transceiver to perfonn a method comp;ising:         '
        at least one data variable of the one or more data vari-           receiving a message, wherein the message comprises one
        abIes comprises an array representing frequency domain      10        or more data variables that represent the test infonna-
        received idle channel noise information.                              tion, wherein bits in the message were modulated onto
                                                                              DMT symbols using Quadrature Amplitude Modulation
     5. Anon-transitory computer-readable infonnation storage
                                                                              (QAM) with more than 1 bit per sub channel and wherein
   media having stored thereon instructions that if executed
                                                                              at least one data variable of the one or more data vari-
   cause a transceiver to perfonn a method comprising:          '
                                                                    15        ables comprises an array representing frequency domain
     transmitting a message, wherein the message comprises                    received idle channel noise information.
        one or more data variables that represent the test infor-
        mation, wherein bits in the message are modulated onto                                 * * * * *
